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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA
";{)ennis Hicks,
         (Petitioner)
                                           Civil Action No.:
 V
                                                                --------
                                           Crim:. Action No.: 07-CR-83-1
 United States of America,
      (ResPondent)

                        MJTION FOR t-ODIFICATION OF SENTENCE
                               PURSUANT 'ID 18 USC §3582
                         IN LIGHT OF NEW CASE PRECEDENT IN       f· .                .• :         ' ' I.,_;. ! ' .'       I
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                              (U.S. V. DAVIS) NO. 18431:         I
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                                                                                                                         'I
                           (U.S. V. RAYt-OND) NO. 18-2349;                                                       !   \:

                            (U.S. V. SHULAR) NO. 18-6662;
                             (U.S. V. REHAIF) NO. 17-9560;
                                      AND ALIKE
                                                                           SEP 2 3 2019                         llLll
                        REGARDING TWO COUNTS OF PETITIONER'S
                        CASE DIRECTLY UNDER 18 USC 924(c)(1),
                          922(g) AND 924(e); FINDING '.JD. B~
                                  UNCONSTITUTIONAl.l.Y VAGUE
                                   AND CANNOT STAND


      NGW COMES Dennis Hicks, pro se (hereinafter ''Mr. Hicks'' or "Petitioner"),
 in the above-captioned matter, and hereby request that this Honorable Court,
 pursuant to recent Supreme Court decisions in (U.S. v Davis) No. 18431, (U.S.
 v. Shular) No. 18-6662 (pending), (U.S. v. Rehaif) No. 17-9560, and Lower
 Court decision in (U.S. v. Raymond) No. 18-2349 (8th Cir), that when appJied
 to Petitioner's case; would reduce the sentence of Mr. Hicks to the now appropriate
 guideline range ot time served. As for reasons thereof, Mr. Hicks states the
 tollowing:

                                  I. BACKGROUND
       On May 12, 2008, Mr. Hicks was sentenced on multiple charges such as;
  Count #1, 21:841(A)(1), (b)(1)(c) Possession with Intent to Distribute Heroin
  (offense ended 8/13/2006), which carried a term of imprisonment of 1 YEAR;
  Count #2, 18:924(c)(1) Possession of a Firearm in Furtherance of a Drug Trafficking
  Ccime (offense ended 8/13/2006), wnich carried a term of impriimnment of 5
  YEARS; and Count #3, 18:922(g)(1) & 924(e) Convicted Felon in Possession of
  a Firearm (offense ended 8/13/2006), which carried a term of imprisonment
  of 15 years. All counts to be run consecutively to a total of 21 years sentence.

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     Petitioner's filing pursuant to 18 USC 3582(c)(2) is relevant to his
case; and thus such tiling is timely pursuant to FRAP as a ~atter of Law.
Note:     Petitioner was ''Honorable Dischargen frOL11 the military.

                                     II.   PRELIMINARY STATEMENT
     Pursuant to 18 USC 3582(c)(2), this Court has jurisdiction to adjudicate
this case at bar, where the statute states the following:
       18 USC 3582(c)(2) provides in relevant part;
       The Court may not modify a term of imprisonment once it has been imposed
  except that, in the case of a defendant who has been sentenced to a term of
  imprisonment based on a sentencing range that has subsequently been lowered
  by the Sentencing Commission pursuant to 28 USC 994(0), upon motion of the
  defendant, the court may reduce the term of imprisonment, after considering
  the factors set forth in Section 3553(A) to the extent that they are applicable,
  if such a reduction is consistent with applicable policy statements issued
  by the Sentencing Commission.

     Accordingly, Petitioner will argue as in (U.S. v. Rehaif) No. 17-9560;
that at the time of the offense, Petitioner did not know (knowingly) that
he had violated one of the nine (9) criteria pursuant to 18 USC 922(g). Petitioner
only post fact of a trial understands that the statute 18 USC 922(g) states
the following: (9) criteria for a violation to occur, such as:
. 18 U. S. C. §922(9)
"It shall be unlawful for any person-

" ( 1) w~o has been convicted in any court of, a crime punishable by imprisonment for a term
exceeding one year;
 "(2) who is a fugitive from justice;
 "{3) who is an unlawful user of or addicted to any controlled substance ... ;
 "(4) who has been adjudicated as a mental defective or who has been committed to a mental
 institution;
 "(5) who, being an alien-(A) is illegally or unlawfully in the United States; or (B) ... has been
 admitted to the United States under a nonimmigrant visa (as that term is defined in section
 101(a)(26) of the Immigration and Nationality Act (8 U.S.C. 1101(a)(26)));
 "(6) who has been discharged from the Armed Forces under dishonorable conditions;
 .. (7) who, having been a citizen of the United States, has renounced his citizenship;
"(8) who is subject to a court order that-(A) was issued after a hearing of which such person received
actual notice, and at which such person had an opportunity to participate; (B) restrains such person
from harassing, stalking, or threatening an intimate partner of such person or{2019 U.S. LEXIS 21}
child of such intimate partner or person, or engaging in other conduct that would place an intimate
partner in reasonable fear of bodily injury to the partner or child; and (C)(i) includes a finding that
such person represents a credible threat to the physical safety of such intimate partner or child; or (ii)
by its terms explicitly prohibits the use, attempted use, or threatened use of physical force against
such intimate partner or child that would reasonably be expected to cause bodily injury; or
                                                            2
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  "(9) who has been convicted in any court of a misdemeanor crime of domestic violence,
  to ship or transport in interstate or foreign commerce, or possess in or affecting commerce, any
  firearm or ammunition; or to receive any firearm or ammunition which has been shipped or
  transported in interstate or foreign commerce."



     Petitioner based on his sentencing transcripts clearly seems unknowingly
to fall under violation of #1 and #3 concerning the 922(g) list of violation
criteria laid out bv Congress and law-

                              III. STATEMENT OF FACTS
        Over the last few years, the Supreme Court has considered various laws
 that define ''violent felony" and "crime of violence ;1: Some definitions of
 those kinds of crimes are clear, such as when a law lists the elements (things
 that need to be proved to the jury) or names the crimes. Others are not.
        In recent years, the Supreme Court has been cutting out unclear definitions
of those terms from laws, such as the Armed Career Criminal Act (ACCA). ACCA
requires a judge to impose a 15-year mandatory minimum sentence for an individual
't\'ho is a felon in possession of a firearm and who has been convicted of three
prior violent felonies. In Johnson v. United States, the Court struck down
part of ACCA because one of its definitions of violent felony, the residual
clause, was too vague. It left other parts of ACCA's definition of violent
 felony alone.
        Another decision, Sessions v. Dimaya, relied on Johnson to strike down
 as unconstitutional the residual clause in the federal law 18 USC Sec 6(b)
defining ''crime of violence."
        United States v. Davis is another residual clause case. Davis involves
 the residual clause in 18 USC §924(c). The residual clause in 18 USC Sec.
 924(c) is identtcal to the residual clause the Supreme Court eliminated in
 Dimaya. In evaluating whether a crime is a crime of violence or a violent
 felony under the residual clause, the Court has used the "categorical approach".
 The categorical approach asks mat the crime's "ordinary case" is (requiring
 the court to ask what usually happens when the crime at issue is corrmitted)
 and if that ordinary case presents a substantial risk of the use of force.
 The Supreme Court used the categorical approach when it decided that the residual
 clauses in ACCA and the crime of violence definition were unconstitutionally
 vague and had to be removed frcxn the law.
        In Davis, the government conceded that the 924(c) residual clause would
 be unconstitutional if the court used the categorical approach. So it asked
 the Court to abandon that tool and instead look at what the Defendant actually

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did. If the conduct the defendant engaged in presented a serious potential
risk of physical injury, the defendant would be deemed to have comnitted a
crime of violence. If, instead, the Court maintained the categorical approach,
then the residual clause in 924(c) was certainly doomed. (See Attachment #1
- Recent ruling in Davis).
      Petitioner understands that currently Davis does not deal with drug offenses
pertaining to the 924(c) matter, however; the Court issued its final order
list of the Tenn, granting review to (Shular v. U.S), another case raising
an important issue in the application of ACCA, this one on the drug trafficking
side. For an ACCA conviction, you have to have three prior convictions that
are crimes of violence or drug cases. In Shular, the question is whether the
detennination of a "serious drug offense" under the ACCA requires the same
categorical approach used in the determination of a violent felony, the approach
just approved in Davis. lhere is little doubt that the holding will apply
to drug crimes underlying 924(c) convictions as well.
      lhus Petitioner's argument sterns from the Davis Case, that has now convaded
to Shular; and the Court may want to hold this part of Petitioner's claims
in abeyance until Shular is finally decided on in the Interest of Justice.
      Of great importance, Petitioner has included Davis and Shular in his
argt.ment and filing; to give a complete showing and grounds for why he now
qualifies for relief, due to the multitude of recent Higher and Lower Court
cases.

                      IV.   (ARGUMENI') GROUNDS FOR RELIEF
     During Petitioner's sentencing process (dated May 12, 2008); Petitioner
repeatedly argued that although he is guilty of possession of a small amount
of drugs for personal use; Petitioner should not have been found to fit the
ACCA qualification that carried a 15 year maximum minimum tenn of imprisonment.
(See Pages 5-6 of Sentencing Transcript - challenging his drug trafficking
charge).
     In fact, it was clearly explained to the Court that Petitioner's prior
drug convictions were so minor at the state level; that the state consolidated
three (3) low level charges into one (1) blanket charge, to insure Petitioner
would qualify for admission into a Recovery Drug Program. The Court decided
incorrectly to unwrap the states decision to create (3) separate offenses;
thus assuring Petitioner would receive a (15) year sentence at minimum. As
in Shular, Petitioner challenged at sentencing what Shular is now arguing

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before the Suprerrt.Court, by way of Davis. (See Page 8 of Sentencing Transcript
- concerning prior convictions).
      Straightforward, Petitioner argues that his 924(c)(1) charge was and
should not have been an element charge whatsoever. Tiie factual basis of this
charge is that a gun was foqnd in the vehicle Petitioner was driving, and
not in an act of violence or force as argued in Davis. Accordingly, the Court's
assessment that the 924(c)(1) charge was an element found by ~he Jury, thus
also triggered a firearm count that was based on the ACCA's unconstitutionally
vague Residual Clause; is contrary to recent 8th Circuit case in (U.S. v.
Raymond), No. 18-2349 (Aug. 13, 2019), where the Court determined, the error
in Raymond's sentence was a constitutional one since the district court determined
that the sentence imposed on his firearm count was based on the ACCA's unconstitutionally
vague residual clause; the'mere fact that the district court could have impesed'
the same term of imprisonment without the ACCA enhancement does not make the
error harmless; the sentencing error identified by the district court would
prejudice Raymond, entitling him to relief under Section 2255; the matter
 is remanded to the district court for further consideration under _Quarles
v. U.S., 139 S.Ct. 1872 (2019 and, if necessary, consideration of other factors
affecting the Court's Rule 60(b)(6) ruling in the matter.
      Next, Petitioner also argues that count #3 922(g)~1) & 924(e); also cannot
stand for a "<::onvicted Felon in Possession of a Firearm~' On June 21, 2019,
the Supreme Court in (U.S. v. Rehaif) No. 17-9560;.stipulated that Rehaif's
conviction could not stand. Period! Petitioner's case is similar to Rehaif
when, Petitioner at the time of his arrest, had no idea that being in the
possession of a firearm would cause him to meet the threshold criteria for
eligibility pursuant to 922(g)(1) statute; nor the chan~e of 924(E).
      Turning first to the sentencing transcript, where Petitioner exhaustively
stated to the Court that a prior injury caused him to become addicted to drugs
as a coping device; that led to (unknowingly) causing him to violate #3 listed
922(g) violation (See list herein in this motion under preliminary statement
section) that states, "It shall be unlawful for any person :.·who is person
 - who is an unlawful user of or addicted to any controlled substance •••• ";
as well as, not knowing as ruled by the Court that " A person cannot be··found
to have violated the 924(g) or 924(e) if he/she scienter knowingly understood ,
his or her status was in violation of one of the (9) criteria laid out by
Congress as a matter of Law. (See Pages. 16-17 of Sentencing Transcript, concerning
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        Petitioner's drug habits - thus leaving him unknowing of a violation). What's
        more, in Rehaif, the Supreme Court majority ruling in favor, in an attempt
        to be clear on the record notably asserts the following;
               ''Defendants are entitled to relief, if they can show that they are actually
               innocent of violating 922(g); which will be the case if they did not
               know that they fell into one of the categories of persons to whom ..
               the offense applies If a prisoner asserts that he lacked the knowledge
               and therefore was actually innocent, the district courts, in a great
               many cases, may be required to hold a hearing, order that the prisoner
               be brought to court from a distant place of confinement, and make a credibility
               determination as to the prisoner's subjective mental state at the time
               of the crime, which may have occurred years in the past."

                                                     V.    CONCLUSION
             In sllil, the Supreme Court found (in part, See Attachment 1 of the full
        citing) held: Section 924(c)(3)(B) is unconstitutionally vague: PP. 4/25.
 (a) In our constitutional order, a vague law is no law at all. The vagueness doctrine rests on the twin constitutional pillars of due
 process and separation of powers. This Court has recently applied the doctrine in two cases involving statutes that bear more
 than a passing resemblance to 924(c)(3)(B)'s residual clause Johnson v. United States, 576 U.S._, which addressed the
 residual clause of the Armed Career Criminal Act (ACCA), and Sessions v. Dimaya, which addressed the residual clause of 18
 U. S. C. 16. The residual clause in each case required judges to use a "categorical approach" to determine whether an offense
 qualified as a violent felony or crime of violence. Judges had to disregard how the defendant actually committed the offense and
 instead imagine the degree of risk that would attend the idealized " 'ordinary case' " of the offense. Johnson, 576 U. S., at_.
-t "he Court held in each case that the imposition of criminal punishments cannot be made to depend on a judge's estimation of
 the degree of risk posed by a crime's imagined 1'ordinary case." The government and lower courts have long understood 924(c)
,(3)(B) to require the same categorical approach. Now, the government asks this Court to abandon the traditional categorical
 approach and hold that the statute commands a case-specific approach that would look at the defendant's actual conduct in the
 predicate crime. The government's case-specific approach would avoid the vagueness problems that doomed the statutes in
 Johnson and Dimaya and would not yield to the same practical and Sixth Amendment complications that a case-specific
 approach under the ACCA and 16 would, but this approach finds no support in 924(c)'s text, context, and history. Pp. 4 9.


              Because Mr. Hicks was found guilty and charged incorrectly under 924(c)
         as an element; when in fact the Court errored by not realizing that the charge
         was in fact a Residual Clause matter and such recent rulings in Davis by the
         Supreme Court; as well as in Shular concern the drug trafficking matter both
         unconstitutionally vague (1) and cannot stand. 1his correction would remove
         Count #2 of Petitioner's incorrect sentences, thus removing 5 years from Petitioner's
         sentence. 1his removal alone would reduce Petitioner's guideline range downward
         Footnote: Shular is curently pending final decision, thus the Court might
         want to hold in abeyance this part of Petitioner's rightful claim and citing
         that is before the Supreme Court.
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from 21 to 16 years.
     In addition, Petitioner was wrongfully convicted under the ACCA (prior
conviction) clause and upon Shular's (via Davis) favorable ruling; Petitioner
would no longer qualify as a career offender. Period!
     As a matter of statutory construction, Petitioner's sentence would also
be reduced by (15) years; thus reducing his sentence downward to time served.
     Of legal consequences, Petitioner stated on the Record at his sentencing
hearing a cou~le. of facts that cannot be ignored such as;

     1) At the time of his arrest he had ''no idean that he had been in violation
of 18 USC 924(g)(1) and 924(e) pursuant to Count #3 of his indictment.
     Such a finding would apply to the longview of the Supreme Court decision
in Rehaif, that a person cannot violate the 922(g) statute without prior knowledge
of doing so; including statute 924(e). 1hus this charge cannot stand!
     2) At the time of his arrest, he was addicted to drugs and in possession
of heroin for personal use; and not for the purpose to distribute; and thus
Count #2 924(c)(1) possession of a firearm in furtherance of a drug trafficking
crime also cannot stand pursuant to Davis/Shular - cited herein this Motion.

     WHEREFORE, Mr. Hicks humbly requests that pursuant to recent Supreme
Court and at least one"District Court case(s) (8th Circuit - in Raymond),
making 924(c)(1)(A); (3)(B) in Davis/Shular constitutionally vague; accordingly,
the 922(g)(10 and 924(e) also in violation of Petitioner's constitutional
rights of knowingly violating the 922(g) statutes - adopted by the Court from
a jury verdict, must be modified and cannot stand based on (Rehaif), thus
changing Petitioner's guidelines and this Honorable Court "GRANT" relief ahd
reduce Petitioner's sentence to Time Served based on the above-mentioned basis
pursuant to 3582(c) and for such other and further relief deemed proper and
necessary in the Interest of Justice.

                            , 2019          Respectfully S


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                                       AFFIDAVIT
        I Hereby Certify that the foregoing facts are true and correct to the
best of my knowledge and belief under penalty of perjury as per 28 USC Section
1746.


                                            1v=>k-
                                              Dennis Hicks, Pro Se




                                CERTIFICATE OF SERVICE
        I Hereby Certify that a copy of the foregoing Petition/Motion was mailed
on this    /9     day of ~l]z,<Af:?E,~, 2012_, by First Class Mail, postage
prepaid to:


              AUSUA
              Office of the US Attorney
              Melanie B. Wilmoth
              615 Cllestnut Street

              Suite 1250

              Philadelphia, PA 19106



                                            b~.-   .'3
                                            Dennis Hicks,
                                                     pro se
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                     ATIACHMENT(S)
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 BREAKING NEWS: UNITED STATES SUPREME COURT DECIDES DAVIS VS UNITED STATES

 A!I, the Supreme Court has announced their decision in Davis. This is an important decision that deals with 18 U.S.C. 924(c).           \
 Smee Johnson, many have argued that the similarly worded residual clause of 924(c)(3)(B) is equally unconstitutional.
 Fol.lowing Johnson, the Court held that~he nearly identical statute, 18 U.S.C.16(b) is void for vagueness. Now, after a long
 wait, th~ S~preme Court has finally decided once and for all that the residual clause of 18 U.S.C. 924(c)(3)(B) is
 unconst1tut1onally vague and cannot stand.


  UNITED STATESv. DAVIS ET AL.
  CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT

  No. 18 431.

  Argued April 17, 2019 Decided June 24, 2019

 Respondents Maurice Davis and Andre Glover were charged with multiple counts of Hobbs Act robbery and one count of
 conspiracy to commit Hobbs Act robbery. They were also charged under 18 U. S. C. 924(c), which authorizes heightened
 criminal penalties for using, carrying, or possessing a firearm in connection with any federal "crime of violence or drug trafficking
 crime." 924(c)(1)(A). "Crime of violence" is defined in two subparts: the elements clause, 924(c)(3)(A), and the residual clause,
 924(c)(3){B). The residual clause in turn defines a "crime of violence" as a felony "that by its nature, involves a substantial risk
 that physical force against the person or property of another may be used in the course of committin_g t~e offense." l?id. A jury
 convicted the men on most of the underlying charges and on two separate 924(c) charges for brandishing a firearm m
 connection with their crimes. The Fifth Circuit initially rejected their argument that 924(c)'s residual clause is unconstitutionally
 vague, but on remand in light of Sessions v. Dimaya, 584 U.S._, the court reversed course and held 924(c)(3)(B}
 unconstitutional. It then held that Mr. Davis's and Mr. Glover's convictions on the 924(c) count charging robbery as the predicate
 crime of violence could be sustained under the elements clause, but that the other count which charged conspiracy as a
 predicate crime of violence could not be upheld because it depended on the residual clause.

 Held: Section 924(c)(3)(B) is unconstitutionally vague. Pp. 4 25.

 (a) In our constitutional order, a vague law is no law at all. The ~agueness d?ctr!ne rests on t~e twi~ constitutional pillars of due
 process and separation of powers. This Court has recently applied the doctrine m two cases mvolvmg statutes that bear more
 than a passing resemblance to 924(c)(3)(B)'s residual clause Johnson v. United States, 576 U.S._, which addressed the
 residual clause of the Armed Career Criminal Act {ACCA), and Sessions v. Dimaya, which addressed the residual clause of 18
 U.S. C. 16. The residual clause in each case required judges to use a "categorical approach" to determine whether an offense
 qualified as a violent felony or crime of violence. Judges had to disregard how the defendant actually committed the offense and
 instead imagine the degree of risk that would attend the idealized " 'ordinary case' "of the offense. Johns?n, 576 U. ~-· ~t _ .
 The Court held in each case that the imposition of criminal punishments cannot be made to depend on a Judge's estimation of




 the degree of.risk posed by a crim~'s imagined "ordinary case." The government and lower courts have long understood 924(c)
,{3)(8) to require the same categorical approach. Now, the government asks this Court to abandon the traditional categorical
 approach and hold that the statute commands a case-specific approach that would look at the defendant's actual conduct in the
predicate crime. The government's case-specific approach would avoid the vagueness problems that doomed the statutes in
Johnson and Dimaya and would not yield to the same practical and Sixth Amendment complications that a case-specific
approach under the ACCA and 16 would, but this approach finds no support in 924{c)'s text, context, and history. Pp. 4 9.

 (b) This Court has already read the nearly identical language of 16(b) to mandate a categorical approach. See Leocal v.
Ashcroft, 543 U.S. 1, 7. And what is true of 16(b) seems at least as true of924(c)(3)(B). The government claims that the
singular_term."offense" _carries the "generic" meaning in connection with the elements clause but a "specific act" meaning in
conn_ect1on with the residual clause, but nothing in 924(c){3){B) rebuts the presumption that the single term "offense" bears a
consistent meaning. This reading is reinforced by the language of the residual clause itself which speaks of an offense that "by
its nature," involves a certain type of risk. Pp. 9 12.                                     '                                 '

{c) The categorical reading is also reinforced by 924(c}(3}(B)'s role in the broader context of the federal criminal code. Dozens
of fe~~ral sta!utes use the phrase "crime of violence" to refer to presently charged conduct. Some cross-reference 924(c)(3)'s
defimt1on, wh1I~ others are governed by the virtually identical definition in 16. The choice appears completely random. To hold
that 16(b) requires the categorical approach while 924{c)(3)(B) requires the case-specific approach would make a hash of the
federal criminal code. Pp. 12 13.



                                                                                                   ATTACHMENT #1
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(d) Section 924(c){3)(B)'s history provides still further evidence that it carries the same categorical-approach command as 16
(b). When Congress enacted the definition of "crime of violence" in 16 in 1984, it also employed the term in numerous places in
the Act, including 924(c}. The two statutes, thus, were originally designed to be read together. And when Congress added a
definition of "crime of violence" to 924(c) in 1986, it copied the definition from 16 without making any material changes to the
language of the residual clause, which would have been a bizarre way of suggesting that the two clauses should bear
drastically different meanings. Moreover, 924(c) originally prohibited the use of a firearm in connection with any federal felony,
before Congress narrowed 924(c) in 1984 by limiting its predicate offenses to "crimes of violence." The case-specific reading
would go a long way toward nullifying that limitation and restoring the statute's original breadth. Pp.14 17.

(e) Relying on the canon of constitutional avoidance, the government insists that if the case-specific approach does not
represent the best reading of the statute, it is nevertheless the Court's duty to adopt any "fairly possible" reading to save the
statute from being unconstitutional. But it is doubtful the canon could play a proper role in this case even if the government's
reading were "possible." This Court has sometimes adopted the narrower construction of a criminal statute to avoid having to
hold it unconstitutional if it were construed more broadly, but it has not invoked the canon to expand the reach of a criminal
statute in order to save it. To do so would risk offending the very same due process and separation of powers principles on
which the vagueness doctrine itself rests and would sit uneasily with the rule of lenity's teaching that ambiguities about a
criminal statute's breadth should be resolved in the defendant's favor.

Pp. 17 19. 903 F. 3d 483, affirmed in part, vacated in part, and remanded.

GORSUCH, J., delivered the opinion of the Court, in which GINSBURG, BREYER, SOTOMAYOR, and KAGAN, JJ., joined.
KAVANAUGH, J., filed a dissenting opinion, in which THOMAS and AUTO, JJ., joined, and in which ROBERTS, C. J., joined as
to all but Part II C.
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